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                                          APPENDIXD

                                 PARTICIPATING EMPLOYERS

  Waddell & Reed, Inc. (EIN: REDACTED)

  Waddell & Reed Financial, Inc. (EIN: REDACTED)

  Waddell & Reed Services Company (EIN: REDACTED)

  Waddell & Reed Investment Management Company (EIN: REDACTED)

  Ivy Funds Distributor, Inc. (EIN: REDACTED)

  Waddell & Reed Corporate LLC (EIN: REDACTED)

  Waddell & Reed Capital Management Group, Inc. (EIN: REDACTED)

  As provided in Section 12.6(a) of the Plan, this Appendix D may be updated from time to time
  without formal amendment to the Plan.




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